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 7

 8    Counsel for Defendant Delacruz
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10                                  IN THE UNITED STATES DISTRICT COURT
11                            FOR THE NORTHERN DISTRICT OF CALIFORNIA
12                                             SAN JOSE DIVISION
13

14     UNITED STATES OF AMERICA,                            Case No.: CR 19–680 LHK
15                     Plaintiff,                           [PROPOSED] ORDER TO RELEASE
                                                            FROM FEDERAL CUSTODY
16             v.
17     RENE DELACRUZ,
18                     Defendant.
19
            Based on the agreement of the parties and the facts set forth at the hearing in this matter,
20
            IT IS HEREBY ORDERED that Mr. Rene Delacruz shall be released from U.S. Marshal
21
     custody on August 26, 2022, at 9:00 a.m. Mr. Delacruz must report directly to The Salvation Army,
22
     Adult Rehabilitation Center, located at 601 Webster Street, Oakland, CA 94607, where he shall reside
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     and follow all the rules of the program as directed by the probation officer. Mr. Delacruz is further
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     ordered to follow all prior terms of her Supervised Release.
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26
            IT IS SO ORDERED.
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      U.S. v. Delacruz, CR 19-680                     1
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     Dated:      ______________
 3                                              HONORABLE NATHANAEL COUSINS
                                                United States Magistrate Judge
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     U.S. v. Delacruz, CR 19-680            2
